JS 44 (Rev. 10/20)                                    CIVIL Document
                                     Case 2:21-cv-01061-JMY COVER SHEET
                                                                     1 Filed 03/05/21 Page 1 of 9
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
          Juan Ramos                                                                                             Farmers Insurance Exchange

    (b)   County of Residence of First Listed Plaintiff                 Philadelphia County                     County of Residence of First Listed Defendant              Los Angeles County, CA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
      Simon & Simon, PC
      1818 Market St., Suite 2000
      Philadelphia, PA 19103
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                       3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                 (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                            of Business In This State

    2   U.S. Government                  ✖    4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖ 5
          Defendant                                 (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                       Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                         Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                     TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                            PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                               310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                           315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                     Liability                  367 Health Care/                                                                                    400 State Reapportionment
    150 Recovery of Overpayment              320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment                 Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
    151 Medicare Act                         330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
    152 Recovery of Defaulted                     Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
         Student Loans                       340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)                 345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment                   Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits        ✖       350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits                  355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                           Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability           360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                                Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                             362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                                 Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                          CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                    440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                          441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment               442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                        443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability                   Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property              445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                                 Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                             446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                                 Other                       550 Civil Rights                 Actions                                                                State Statutes
                                             448 Education                   555 Prison Condition
                                                                             560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                          3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                  Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                   (specify)                 Transfer                          Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              28 U.S.C. § 1391(b) (1) and (2)
VI. CAUSE OF ACTION                           Brief description of cause:
                                              Motor Vehicle Accident
VII. REQUESTED IN                                  CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                    UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                                  (See instructions):
      IF ANY                                                               JUDGE                                                               DOCKET NUMBER
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
03/04/2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                         APPLYING IFP                                    JUDGE                           MAG. JUDGE
                              Case 2:21-cv-01061-JMY   Document
                                                UNITED STATES     1 Filed
                                                              DISTRICT    03/05/21 Page 2 of 9
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                      Juan Ramos - 4217 H St., Philadelphia, PA 19124
Address of Plaintiff: ______________________________________________________________________________________________
                        Farmers Insurance Exchange - 6301 Owensmouth Ave., Woodland Hills, CA 91367
Address of Defendant: ____________________________________________________________________________________________
                                              intersection of N 20th St. & Cherry St., in Philadelphia, PA.
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is / x is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           03/04/2021
DATE: __________________________________                                     Must sign here
                                                             __________________________________________                                   201798
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                        
                                                                                            ✔    5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

                Marc Simon
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     
     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


           03/04/2021
DATE: __________________________________                                   Sign here if applicable
                                                             __________________________________________                                   201798
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM
                                                  :                          CIVIL ACTION
     Juan Ramos                                   :
                       v.                         :
                                                  :
 Farmers Insurance Exchange                       :                          NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   (; )


   03/04/2021                    0DUF6LPRQ                              Juan Ramos
Date                               Attorney-at-law                       Attorney for
                                                 0DUF6LPRQ#JRVLPRQFRP

Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02
            Case 2:21-cv-01061-JMY Document 1 Filed 03/05/21 Page 4 of 9




                     UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________
Juan Ramos                            :
4217 H St.                            :
Philadelphia, PA 19124,               :              #
                                      :
                      Plaintiff,      :
                                      :
v.                                    :
                                      :
Farmers Insurance Exchange            :
6301 Owensmouth Ave..                 :
Woodland Hills, CA 91367,             :
                                      :
                      Defendant.       :
                                       :

                                          COMPLAINT

                                            PARTIES

       1.      Plaintiff, Juan Ramos, is a resident of the Commonwealth of Pennsylvania,

residing at the address listed in the caption of this Complaint.

       2.      Defendant, Farmers Insurance Exchange, was at all times material hereto, an

insurance company duly authorized and licensed to practice its profession by the State of

California. Defendant was engaged in the practice of providing automobile insurance policies,

including, but not limited to, motor vehicle liability policies.      These policies would also

occasionally provide underinsured and uninsured motorist coverage.

                                JURISDICTION AND VENUE

       3.      This Court has jurisdiction over the parties and subject matter in this civil action.

Plaintiff is a citizen of Pennsylvania, and Defendant, upon information and belief, is a corporate

entity with its principal place of business in California. The amount in controversy in this case,

exclusive of interest and costs, exceeds the sum of $75,000.
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        4.      Venue is proper in the United States District Court for the Eastern District of

Pennsylvania pursuant to 28 U.S.C. § 1391(b) (1) and (2), in that this is a judicial district in

which a substantial part of the events or omissions giving rise to the claims asserted in this

Complaint occurred.

                                               FACTS

        5.      On or about February 9, 2020, at approximately 9:30 p.m., Plaintiff was the owner

and operator of a motor vehicle that was traveling at or near the intersection of N 20th St. & Cherry

St., in Philadelphia, PA.

        6.      At the same date and time, Brett V. Borbridge. (hereinafter, “the tortfeasor”),

was the owner and operator of a motor vehicle that was traveling at or near the same

intersection as the Plaintiff’s vehicle.

        7.      At or about the same date and time, the tortfeasor’s vehicle collided with Plaintiff’s

vehicle.

        8.      This collision was the direct result of the tortfeasor negligently or carelessly

operating his/her vehicle, and not as the result of any action or failure to act by Plaintiff.

        9.      As a result of the collision, Plaintiff suffered serious and permanent bodily injury,

including to the back, as set forth more fully below.

                                            COUNT I
                            Juan Ramos v. Farmers Insurance Exchange
                                 Underinsured Motorists Coverage

        10.     The negligence or carelessness of the tortfeasor, which was the direct and sole

cause of the motor vehicle collision and of the injuries and damages sustained by Plaintiff,

consisted of, but was not limited to, the following:

                  a..   Rear-ending Plaintiff’s vehicle;
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     b.   Failing to maintain proper distance between vehicles;

     c.   Operating said vehicle in a negligent or careless manner as to rear-end

          Plaintiff’s vehicle, without regard for the rights or safety of Plaintiff or

          others;

     d.   Failing to have said vehicle under proper and adequate control;

     e.   Operating said vehicle at a dangerous and excessive rate of speed under

          the circumstances;

     f.   Violation of the “assured clear distance ahead” rule;

     g.   Failure to keep a proper lookout;

     h.   Failure to apply brakes earlier to stop the vehicle without causing a

          motor vehicle collision;

     i.   Being inattentive to his/her duties as an operator of a motor vehicle;

     j.   Disregarding traffic lanes, patterns, and other devices;

     k.   Driving at a high rate of speed that was dangerous for the conditions;

     l.   Failing to remain continually alert while operating said vehicle;

     m. Failing to perceive the highly apparent danger to others that his/her actions

          or inaction posed;

     n.   Failing to give Plaintiff meaningful warning signs concerning the

          impending collision;

     o.   Failing to exercise ordinary care to avoid a collision;

     p.   Failing to be highly vigilant and maintain sufficient control of his/her

          vehicle and to bring it to a stop on the shortest possible notice;
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                  q.    Operating his/her vehicle with disregard for the rights of Plaintiff, even

                        though the tortfeasor was aware of or should have been aware of the

                        presence of Plaintiff and the threat of harm posed to him/her;

                  r.    Continuing to operate his/her vehicle in a direction towards Plaintiff’s

                        vehicle when he/she saw, or in the exercise of reasonable diligence, should

                        have seen, that further operation in that direction would result in a collision;

                        and

                  s.    Failing to operate said vehicle in compliance with the applicable laws and

                        ordinances of the Commonwealth of Pennsylvania pertaining to the

                        operation and control of motor vehicles.

        11.     As a direct result of the negligent or careless conduct of the tortfeasor, Plaintiff

suffered various serious and permanent personal injuries, serious impairment of bodily function

and/or permanent serious disfigurement and/or aggravation of pre-existing conditions, including

to the back, all to Plaintiff’s great loss and detriment.

        12.      These injuries are permanent in nature and are to Plaintiff’s great financial

detriment and loss. As a result of these injuries, Plaintiff has in the past suffered, is presently

suffering, and may in the future suffer great anguish, sickness, and agony.

        13.     As an additional result of the carelessness or negligence of the tortfeasor,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

        14.     As a further result of the aforesaid physical injuries, Plaintiff has in the past

undergone, is presently undergoing, and may in the future undergo a great loss of earnings or

earning capacity, all to Plaintiff’s further loss and detriment.
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       15.     Upon information and belief, at the time of the motor vehicle collision in this

case, the tortfeasor’s motor vehicle insurance policy or liability insurance were insufficient to

fully and adequately compensate Plaintiff for the injuries suffered in the collision and/or for

other damages and expenses related thereto.

       16.     At the date and time of the aforementioned motor vehicle collision, Plaintiff was

the owner and operator of a motor vehicle that was covered by a policy of insurance issued by

Defendant under Policy Number 0606715809. This policy included coverage for underinsured

motorist coverage applicable to Plaintiff.

       17.     Accordingly, Plaintiff asserts an Underinsured Motorist Claim against Defendant.

       WHEREFORE, Plaintiff, Juan Ramos, demands judgment in Plaintiff’s favor and against

Defendant, Farmers Insurance Exchange, in an amount in excess of Seventy-Five Thousand

($75,000.00) Dollars, plus all costs and other relief this court deems necessary.



                                      SIMON & SIMON, P.C.


                                      BY: _____________________________________
                                            Marc I. Simon, Esquire
DocuSign Envelope ID: 841725C0-68A3-4B47-850C-40D0F5EA1722
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